          Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 1 of 18



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND                            )
ETHICS IN WASHINGTON,                                      )
                                                           )
                      Plaintiff,                           )
                                                           )
              v.                                           )        Civ. No. 11-0592 (RJL)
                                                           )
U.S. DEPARTMENT OF JUSTICE,                                )
                                                           )
                      Defendant.                           )
                                                           )

       PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) cross-moves

for partial summary judgment with respect to defendant’s withholding of records concerning its

investigation of former House Majority Leader Tom DeLay. CREW respectfully refers the

Court to the accompanying memorandum of points and authorities in support of this cross-

motion.


                                            Respectfully submitted,


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         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 2 of 18



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND                              )
ETHICS IN WASHINGTON,                                        )
                                                             )
                       Plaintiff,                            )
                                                             )
               v.                                            )      Civ. No. 11-0592 (RJL)
                                                             )
U.S. DEPARTMENT OF JUSTICE,                                  )
                                                             )
                       Defendant.                            )
                                                             )

      MEMORANDUM IN PARTIAL OPPOSITION TO DEFENDANT’S MOTION
        FOR SUMMARY JUDGMENT AND IN SUPPORT OF PLAINTIFF’S
           CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
       Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) initiated this
action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, in March 2011, seeking
the disclosure of records maintained by defendant Department of Justice (“DOJ”) relating to the
agency’s investigation of former House of Representatives Majority Leader Tom DeLay
concerning illegal lobbying activities by Jack Abramoff and others. Following the Court’s initial
adjudication of the matter, the case is again before the Court upon remand by the D.C. Circuit.
DOJ has moved for summary judgment, asserting that its component, the Federal Bureau of

Investigation (“FBI”), is entitled to withhold a substantial portion of the agency records
responsive to CREW’s request. For the reasons set forth below, CREW opposes DOJ’s motion
in part and cross-moves for partial summary judgment and entry of an order requiring DOJ to
disclose certain responsive records.
                                       Factual Background

       A.      DOJ’s Public Corruption Investigation

       In 2004, DOJ and the FBI initiated an investigation into the activities of former lobbyist

Jack Abramoff and his associates, an investigation the FBI characterized as “a wide-ranging
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 3 of 18



public corruption investigation as part of its ongoing efforts to root out systemic corruption

within the highest levels of the government.” Declaration of David M. Hardy (“Hardy Decl.”)

(Docket No. 9-3), ¶ 22 (footnote omitted). The investigation yielded 21 guilty pleas or

convictions following jury trials. Two of those convicted, Tony Rudy and Michael Scanlon,

once served as senior aides to Tom DeLay – the former Majority Leader of the United States

House of Representatives. During the course of the investigation, the FBI never acknowledged

whether Mr. DeLay himself was a subject of the corruption inquiry.1 In August 2010, however,

Mr. DeLay publicly announced that DOJ had informed him it had decided not to bring criminal

charges against him related to the Abramoff scandal. CREW v. U.S. Dep’t of Justice, 746 F.3d

1082, 1087 (D.C. Cir. 2014).

       B.      CREW’s FOIA Request and the FBI’s Response

       By letter to the FBI dated October 19, 2010, CREW requested under the FOIA the

following agency records:

       [A]ny witness statements, investigation reports, prosecution memoranda, and
       Federal Bureau of Investigation (“FBI”) 302 reports related to [the Department’s]
       investigation of former House Majority Leader Tom DeLay. This includes, but is
       not limited to, [the Department’s] investigation of relationships between Mr.
       DeLay and Christine DeLay, Dani DeLay, Jack Abramoff, Edwin Buckham, Tony
       Rudy, Michael Scanlon, Susan Hirshmann, the Alexander Strategy Group, the
       National Center for Public Policy Research, eLottery, Inc., the U.S. Family
       Network, Americans for a Republican Majority PAC (“ARMPAC”), Texans for a
       Republican Majority PAC (“TRMPAC”), and/or the Commonwealth of the
       Northern Marianas Islands.
Exhibit A (attached to Hardy Decl.).2


1
  During the investigation, the FBI did, however, issue numerous press releases identifying
individuals who had been indicted, convicted and/or pled guilty to the charges against them.
See, e.g., Exhibits A-H (filed with CREW’s initial cross-motion for summary judgment (Dkt.
No. 12)).
2
  CREW also requested the same information from DOJ’s Criminal Division, but did not
challenge that component’s response to its FOIA request.

                                                 2
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 4 of 18



       By letter to CREW dated October 22, 2010, the FBI acknowledged receipt of CREW’s

FOIA request and indicated that without express authorization and consent of “the third party” –

presumably Mr. DeLay – any release of information to plaintiff would violate the Privacy Act.

The FBI further asserted that the requested records were exempt from disclosure under the FOIA

on privacy grounds. CREW appealed the FBI’s determination, but DOJ closed the

administrative appeal without decision after CREW initiated this action. Exhibits E-G (attached

to Hardy Decl.).

       C.      Initial Proceedings in this Court, and the Decision on Appeal

       CREW initiated this action on March 22, 2011, challenging the FBI’s determination to

withhold all responsive records, and the parties cross-moved for summary judgment. In support

of DOJ’s summary judgment motion, the FBI acknowledged that it possesses records responsive

to CREW’s request; to wit, “documents . . . which it was able to identify by virtue of the fact that

they were indexed under DeLay’s name.” Hardy Decl., ¶ 24. These records were described as

“FD-302 and FD-302 inserts (‘Interview Forms’/‘Witness Statements’),” id., ¶ 35, and

“Investigative Materials/Reports,” id., ¶ 40.3 The FBI asserted that it had categorically withheld

all responsive documents pursuant to Exemptions 6 and 7(C) because the records implicated

privacy interests of Mr. DeLay and others that were not outweighed by any public interest in

disclosure. The Bureau also asserted that all of the responsive records were properly withheld

under Exemption 7(A) because there were several outstanding convictions and sentencing

proceedings related to the Abramoff public corruption investigation that had not yet been

completed. Additionally, the FBI asserted that some unspecified responsive information was



3
  The FBI also possesses what it describes as a “public source file,” which contains records
“such as court records and news clippings.” Id. CREW did not (and does not now) seek access
to that material.

                                                 3
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 5 of 18



also being withheld pursuant to FOIA Exemptions 2, 3, 7(D), and 7(E). CREW challenged the

FBI’s categorical invocation of Exemptions 6, 7(C), and 7(A), and also argued that the Bureau

had not met its burden of establishing the propriety of the withholdings made under Exemptions

3, 7(D), and 7(E).

       In a decision issued on June 8, 2012, the Court granted DOJ’s motion for summary

judgment – and denied CREW’s cross-motion – finding that the responsive records were

appropriately categorically withheld under Exemptions 6, 7(C), and 7(A), and that responsive

information was also appropriately withheld under FOIA Exemptions 2, 3, 7(D), and 7(E). See

CREW v. DOJ, 870 F. Supp. 2d 70 (D.D.C. 2012).4

       CREW timely appealed to the D.C. Circuit and on April 1, 2014, the court of appeals

reversed this Court’s decision with respect to the agency’s categorical withholding

determinations under Exemptions 6, 7(C), and 7(A), and further held that DOJ had presented

insufficient evidence in its attempt to justify withholding portions of the responsive records

under Exemptions 3, 7(D), and 7(E). With respect to DOJ’s privacy claims, the D.C. Circuit

held that any cognizable privacy interests must be balanced against “a weighty public interest in

shining a light on the FBI’s investigation of major political corruption and the DOJ’s ultimate

decision not to prosecute a prominent member of the Congress for any involvement he may have

had.” 746 F.3d at 1092-1093. The appeals court remanded the case to this Court for further

proceedings consistent with its opinion. Id. at 1082.




4
  The Court addressed the applicability of Exemption 2, although CREW did not challenge the
agency’s reliance upon that exemption.

                                                 4
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 6 of 18



       D.      DOJ’s Post-Remand Withholding of Responsive Information

       As a result of the D.C. Circuit’s rejection of its attempt to categorically withhold all

responsive records under Exemptions 6 and 7(C) and 7(A), the FBI processed 328 pages of

material that it claims were responsive to CREW FOIA’s request. In November 2014, the

Bureau released to CREW 124 pages (many of which contain substantial redactions), and

informed CREW that it was withholding 204 pages in their entirety. In support of these

withholdings, the FBI invoked FOIA Exemptions 3, 5, 6, 7(C), 7(D), and 7(E). Memorandum of

Points and Authorities in Support of Defendant’s Motion for Summary Judgment (“Def. Mem.”)

(Dkt. No. 29-1) at 4.

                                              Argument

I.     FOIA Establishes a Presumption of Disclosure and Places the Burden on DOJ to
       Demonstrate that Any Withheld Information is Properly Exempt from Disclosure

       The Freedom of Information Act safeguards American citizens’ right to know “what their

Government is up to.” Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S.

749, 773 (1989). The central purpose of the statute is “to ensure an informed citizenry, vital to

the functioning of a democratic society, needed to check against corruption and to hold the

governors accountable to the governed.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214,

242 (1978). “[D]isclosure, not secrecy, is the dominant objective of [FOIA].” Dep’t of Air

Force v. Rose, 425 U.S. 352, 361 (1976). See also Nat’l Ass’n of Home Builders v. Norton, 309

F.3d 26, 32 (D.C. Cir. 2002) (“[a]t all times, courts must bear in mind that FOIA mandates a

‘strong presumption in favor of disclosure.’”) quoting U.S. Dep’t of State v. Ray, 502 U.S. 164,

173 (1991).

       The statute requires disclosure of agency records when requested by the public unless the

records fall within one of nine exemptions. See 5 U.S.C. § 552(b)(1) - (9). If requested



                                                 5
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 7 of 18



information does not fit squarely into one of these enumerated categories, the law requires

federal agencies to disclose the information. NLRB v. Robbins, 437 U.S. at 221. FOIA’s

exemptions “have been consistently given a narrow compass,” and requested agency records that

“do not fall within one of the exemptions are improperly withheld[.]” Dep’t of Justice v. Tax

Analysts, 492 U.S. 136, 151 (1989) (internal quotation marks omitted).

       Disputes involving the propriety of agency withholdings are commonly resolved at the

summary judgment stage in FOIA cases. Harrison v. EOUSA, 377 F. Supp. 2d 141, 145 (D.D.C.

2005). The Court reviews the government’s withholding of agency records de novo, and the

government bears the burden of proving that a particular document falls within one of the nine

narrow exemptions to FOIA’s broad mandate of disclosure. 5 U.S.C. § 552(a)(4)(B); Reporters

Comm., 489 U.S. at 755. “Unlike the review of other agency action that must be upheld if

supported by substantial evidence and not arbitrary or capricious, the FOIA expressly places the

burden ‘on the agency to sustain its action.’” Id. (quoting 5 U.S.C. § 552(a)(4)(B)).

       To be entitled to summary judgment, an agency must prove that “each document that

falls within the class requested either has been produced, is unidentifiable, or is wholly exempt

from the Act’s inspection requirements.” Goland v. CIA, 607 F.2d 339, 352 (D.C. Cir. 1978)

(internal citation and quotation omitted). When claiming one of FOIA’s exemptions, the agency

bears the burden of providing a “‘relatively detailed justification’ for assertion of an exemption,

and must demonstrate to a reviewing court that records are clearly exempt.” Birch v. United

States Postal Service, 803 F.2d 1206, 1209 (D.C. Cir. 1986) (emphasis added) (citing Mead Data

Cent., Inc. v. Dep't of the Air Force, 566 F.2d 242, 251 (D.C. Cir. 1977)).

       Upon remand from the court of appeals, defendant DOJ and its component, the FBI, seek

to withhold a substantial amount of information responsive to CREW’s request under




                                                 6
          Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 8 of 18



Exemptions 3, 5, 6, 7(C), 7(D), and 7(E). CREW does not challenge the agency’s reliance upon

Exemptions 3, 7(D), or 7(E), but it does, as set forth below, strongly dispute DOJ’s entitlement

to withhold any information under Exemption 5, and also challenges the propriety of the

agency’s attempt to withhold certain information on privacy grounds under Exemptions 6 and

7(C).5

II.      DOJ Has Waived its Entitlement to Rely Upon Exemption 5 to
         Withhold Any Responsive Information from Disclosure

         DOJ seeks to withhold six pages of responsive material, designated by the agency as

“pages DeLay 123-128,” under Exemption 5. Specifically, DOJ asserts that the material is

exempt from disclosure under the deliberative process and attorney-client privileges. Def. Mem.

at 12-16. Under the facts of this case, however, the agency is foreclosed from asserting

Exemption 5 as a basis for withholding responsive information – an argument that it now

attempts to put forward for the first time in this four-year-old litigation.

         The D.C. Circuit has consistently and unequivocally held that an agency may not invoke

new exemption claims subsequent to articulating its initial reasons for withholding requested

records in the district court. As then-Judge Scalia explained in 1986, “[i]t is common ground

that the government ordinarily must raise all its claims of exemption in the original proceedings

in district court, and may not thereafter assert new claims of exemption, either on appeal or on

remand following appeal. Wash. Post Co. v. U.S. Dep’t of Health & Human Services, 795 F.2d

205, 208 (D.C. Cir. 1986) (Scalia, J.) (emphasis added; footnote and citation omitted). See also

Ryan v. Dep’t of Justice, 617 F.2d 781, 791-92 (D.C. Cir. 1980) (holding that “the Government

may not raise [a new exemption claim] upon remand to the district court,” noting “[t]he danger



5
  CREW does not challenge DOJ’s assertion that the FBI conducted an adequate search for
responsive records. See Def. Mem. at 6-9.

                                                   7
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 9 of 18



of permitting the Government to raise its FOIA exemption claims one at a time, at different

stages of a district court proceeding”).

       The court of appeals’ strongest admonition to the government on this point came in

Maydak v. U.S. Dep’t of Justice, 218 F.3d 760, 764-765 (D.C. Cir. 2000), where it reiterated that

“[w]e have plainly and repeatedly told the government that, as a general rule, it must assert all

exemptions at the same time, in the original district court proceedings.” The court noted that this

longstanding requirement is grounded in two distinct and fundamental interests: “As we have

observed in the past, the delay caused by permitting the government to raise its FOIA exemption

claims one at a time interferes both with the statutory goals of ‘efficient, prompt, and full

disclosure of information,’ and with ‘interests of judicial finality and economy.’” Id. at 765

(emphasis in original; citations omitted). The result of the court’s holding in Maydak was

straightforward: “[b]ecause the DOJ failed to raise the other exemptions upon which it wished to

rely in the original district court proceedings,” the D.C. Circuit “order[ed] the release of all

requested documents to the appellant.” Id. at 769.

       In this case, DOJ was fully cognizant of Maydak’s requirements when it first moved for

summary judgment in August 2011. Although it relied upon “categorical” invocations of

Exemptions 6, 7(C), and 7(A) to withhold all information responsive to CREW’s FOIA request,

it explicitly cited Maydak as the basis for its additional invocations of Exemptions 3, 7(D), and

7(E) to withhold unspecified portions of the material.6 As the agency explained, its

       assertions of Exemptions 3, 7(D), and 7(E) . . . reflect[] DOJ’s position that it
       would only need to rely on Exemptions 3, 7(D), and 7(E) if the court rejected the
       applicability of categorical Exemptions 6, 7(C), and 7(A). DOJ asserts

6
 In addition to its invocations of Exemptions 3, 7(D), and 7(E), DOJ initially relied upon
Exemption 2 to withhold some portions of the responsive records, but CREW did not challenge
DOJ’s reliance upon that exemption. Plaintiff’s Memorandum in Partial Opposition to
Defendant’s Motion for Summary Judgment (Dkt. No. 11) at 21, n.12.

                                                  8
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 10 of 18



       Exemptions 3, 7(D), and 7(E) here, in light of Maydak, 218 F.3d 760, but DOJ
       would rely on these additional exemptions to withhold requested information only
       if the other exemptions were rejected.

Defendant’s Opposition to Plaintiff’s Cross-Motion for Partial Summary Judgment and Reply to

Plaintiff’s Partial Opposition to Defendant’s Motion for Summary Judgment (Dkt. No. 14) at 23,

citing Hardy Decl. (Dkt. No. 9-3), ¶ 43 (emphasis in original). Indeed, Mr. Hardy, the FBI’s

declarant, was unequivocal in his explanation that, “[i]n light of the D.C. Circuit’s ruling in

Maydak v. U.S. Department of Justice, 218 F.3d 760 (D.C. Cir. 2000), FOIA Exemptions (b)(2),

(b)(3), (b)(6), (b)(7)(C), (b)(7)(D) and (b)(7)(E) are also being asserted [in addition to Exemption

7(A)] . . . . “ Id. At no time did DOJ or Mr. Hardy suggest that claims were being asserted under

Exemption 5.

       DOJ’s belated attempt to invoke Exemption 5 for the first time, more than three-and-a-

half years after it comprehensively articulated its basis for withholding the responsive records,

constitutes a blatant violation of the Maydak rule. The parties fully briefed their dispositive

motions in 2011, this Court ruled on DOJ’s exemption claims in 2012, and the D.C. Circuit

considered – and rejected – the validity of the agency’s legal position in 2014.7 DOJ is

attempting to pursue an approach explicitly disapproved in Maydak, where the D.C. Circuit

firmly rejected the suggestion that “after . . . the courts conclude that Exemption 7(A) is

7
  DOJ, in its current summary judgment motion, mischaracterizes the procedural history of
the case when it asserts that, in 2011,
       FBI explained that it had categorically withheld the responsive documents
       pursuant to Exemptions 6 and 7(C) . . . FBI also explained that it withheld all of
       the responsive documents under Exemption 7(A) . . . Finally, FBI explained that
       responsive materials were also being withheld pursuant to FOIA Exemptions 2, 3,
       5, 7(D) and 7(E).
Def. Mem. at 5. DOJ further states that this Court found that “responsive information was . . .
appropriately withheld under FOIA Exemption[] . . . 5.” Id. The record is clear that the FBI at
no time asserted any claims under Exemption 5, and neither this Court nor the court of appeals
considered the validity of any such claims.

                                                  9
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 11 of 18



inapplicable, then the government should be allowed to start back at the beginning in assessing

the applicability of and satisfying its burden under other exemptions.” 218 F.3d at 766. As a

result of DOJ’s failure to assert any claims under Exemption 5 when it first articulated its basis

for withholding the requested records, any such claims have been waived. See, e.g., Stonehill v.

IRS, 534 F. Supp. 2d 1, 9 (D.D.C. 2008) (characterizing Maydak’s rule as one of waiver).

III.   DOJ Has Improperly Withheld Some Responsive Information on
       Privacy Grounds Under Exemptions 6 and 7(C)

       DOJ seeks to withhold responsive information under FOIA’s privacy exemptions,

Exemptions 6 and 7(C). The agency has identified five distinct categories of information

withheld under these exemptions: “names and identifying information of (1) third parties who

provided information to the FBI; (2) FBI Special Agents and support personnel; (3) third parties

mentioned in investigative records; (4) third parties of investigative interest to the FBI; and (5)

non-FBI and federal government personnel.” Def. Mem. at 17; see also Second Declaration of

David M. Hardy (“2d Hardy Decl.”) (Dkt. No. 29-3), ¶¶ 33-38. CREW does not challenge the

withholding of information concerning “FBI Special Agents and support personnel” or “non-FBI

and federal government personnel,” but submits that DOJ has failed to establish that all of the

information it seeks to withhold concerning other third parties is properly exempt from

disclosure.

       Exemption 6 applies to “personnel or medical files and similar files the disclosure of

which would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. §

552(b)(6). Exemption 7(C) applies to “records or information compiled for law enforcement

purposes” when disclosure “could reasonably be expected to constitute an unwarranted invasion




                                                 10
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 12 of 18



of personal privacy.” 5 U.S.C. § 552(b)(7)(C).8 Although the privacy language in Exemption

7(C) is broader than that in Exemption 6, the courts employ a similar analysis to decide whether

information may be withheld on either ground. See, e.g., Judicial Watch v. U.S. Dep’t of

Homeland Security, 598 F. Supp. 2d 93, 97 n.1 (D.D.C. 2009) (“The privacy inquiries under

Exemptions 6 and 7(C) are ‘essentially the same’”) (citation omitted). Under both exemptions,

the court must first assess whether the third-party has more than a de minimis privacy interest in

the requested material. ACLU v. U.S. Dep’t of Justice, 655 F.3d 1, 12 (D.C. Cir. 2011). If such

an interest exists, the court must then determine whether the third-party’s privacy interest is

outweighed by the public interest in disclosure. Id. at 6. If this balancing of interests tips in

favor of the public interest, the information may not be withheld.

       CREW notes that the D.C. Circuit has long held that “[t]he Exemption 7(C) balancing

test must be applied to the specific facts of each case.” Stern v. FBI, 737 F.2d 84, 91 (D.C. Cir.

1984). “Because the myriad of considerations involved in the Exemption 7(C) balance defy rigid

compartmentalization, per se rules of nondisclosure based upon the type of document requested,

the type of individual involved, or the type of activity inquired into, are generally disfavored.”

Id. (citation omitted). Under the “specific facts” of this case – where the identities of numerous

individuals have already been disclosed and the D.C. Circuit has already held that there is a

substantial public interest in the withheld material – CREW submits that DOJ has failed to

establish its entitlement to broadly rely upon FOIA’s privacy exemptions.




8
  CREW acknowledges that the disputed information was “compiled for law enforcement
purposes” and thus satisfies the Exemption 7(C) threshold.

                                                  11
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 13 of 18



               A.      Many Individuals Whose Names Likely Appear in the Withheld
                       Material Have Only a Minimal Privacy Interest at Stake

       While it is true that in many cases “individuals have an obvious privacy interest

cognizable under Exemption 7(C) in keeping secret the fact that they were subjects of a law

enforcement investigation,” Nation Magazine v. United States Customs Serv., 71 F.3d 885, 894

(D.C. Cir. 1995), there are no privacy issues at stake when, as in this case, the “secret” is already

known. See, e.g., Reporters Comm., 489 U.S. at 765 n.15 (“[T]he interests in privacy fade when

the information involved already appears on the public record.”) (citation and emphasis omitted);

Hollis v. U.S. Dep’t of Army, 856 F.2d 1541, 1545 (D.C. Cir. 1988) (“when a release consists

merely of information to which the general public already has access” privacy interests are not

implicated) (footnotes omitted).

       DOJ asserts that “[s]uspects [and] witnesses . . . have substantial privacy interests that are

implicated by the public release of law enforcement investigative materials,” and argues that

“[d]isclosure of these materials can lead to great embarrassment and reputational harm for these

individuals.” Def. Mem. at 19 (citations omitted). The agency cites Computer Professionals for

Soc. Responsibility v. U.S. Secret Serv., 72 F.3d 897, 904 (D.C. Cir. 1996), in support of the

proposition that individuals have a “strong interest . . . in not being associated unwarrantedly

with alleged criminal activity.” Def. Mem. at 20 (internal quotation marks omitted). But the

D.C. Circuit in that case made clear that the individual privacy interest at issue was “in not being

connected in any way with a criminal investigation.” Id. (emphasis added). It is thus clear that

the assumption underlying the authority DOJ relies upon is that the individuals whose names

appear in investigative files – and whose privacy interests are protected – are those who have not

already been associated with, or connected to, the criminal investigation at issue.




                                                 12
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 14 of 18



       CREW notes that numerous individuals have been publicly identified in DOJ press

releases as having been charged, convicted or otherwise implicated in its “wide-ranging public

corruption investigation.” See, e.g., Exhibits A (Todd Boulanger, James Hirni, Trevor

Blackann); B (Horace Cooper, Neil Volz); C (Ann Copland); D (Glenn Marshall); E (Kevin

Ring); F (David Safavian); G (Italia Federici, J. Steven Griles, Jared Carpenter); H

(Congressman Robert W. Ney, Roger G. Stillwell).9 As the D.C. Circuit has observed,

       by routinely issuing press releases that name the individuals that it has indicted,
       and then naming them again when they plead guilty or are convicted, the Justice
       Department has itself made the process [of identifying individuals charged with
       crimes] infinitely easier. If someone wants to know whether his neighbor or
       potential employee has been indicted for, convicted of, or pled guilty to a federal
       offense, he may well find out by simply entering a Google search for that person’s
       name.

ACLU, 655 F.3d at 10 (footnotes omitted).

       In addition, more than 30 individuals publicly testified in the criminal trials DOJ has

identified as arising from its “public corruption investigation.” Declaration of David Merchant

(filed with Pl. Mem.), ¶¶ 3-5. And the D.C. Circuit noted, in its opinion in this case, that “two of

those convicted [as a result of the investigation], Tony Rudy and Michael Scanlon, once served

as senior aides to Tom DeLay,” 746 F.3d at 1087.10 The court also noted “Fraser Verrusio’s . . .

February 10, 2011 conviction on charges stemming from the Abramoff investigation.” Id. at

1095 n.5. It is thus clear that many individuals have already been publicly associated with DOJ’s



9
 The cited exhibits were filed with Plaintiff’s Memorandum in Partial Opposition to
Defendant’s Motion for Summary Judgment (“Pl. Mem.”) (Dkt. No. 11).
10
   As senior aides to Mr. DeLay, who were convicted as a result of acts associated with their
official duties, Mr. Rudy and Mr. Scanlon are particularly likely to be named in FBI records
concerning Mr. DeLay. Indeed, the FBI acknowledges that “the investigation attempted to
determine if several Tom DeLay associates, after leaving positions on Capitol Hill and becoming
lobbyists, conspired with Tom DeLay to commit honest services fraud . . . .” 2d Hardy Decl., ¶
28.

                                                13
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 15 of 18



investigation, as a result of the agency’s press releases and open court proceedings. Under such

circumstances, the disclosure of those individual’s names, to the extent they appear in the

withheld material, cannot be expected, as DOJ suggests, to “lead to great embarrassment and

reputational harm for these individuals” by “connecting” them to, or “associating” them with, the

Abramoff investigation. Those connections and associations have already been made public. As

the Supreme Court has recognized, “the interests in privacy fade when the information involved

already appears on the public record.” Reporters Comm., 489 U.S. at 765 n.15 (citation and

emphasis omitted); see also CREW v. U.S. Dep’t of Justice, 840 F. Supp. 2d 226, 233 (D.D.C.

2012) (“[o]ne can have no privacy interest in information that is already in the public domain”).

       B.      As the Court of Appeals Found, There is a Substantial
               Public Interest in the FBI Records at Issue in This Case

       When conducting the required balancing of interests under Exemptions 6 and 7(C), the

Court need not linger long over assessing the weight to be given the public interest in disclosure

of the withheld information. As the D.C. Circuit has already found, any cognizable privacy

interests must be balanced against “a weighty public interest in shining a light on the FBI’s

investigation of major political corruption and the DOJ’s ultimate decision not to prosecute a

prominent member of the Congress for any involvement he may have had.” 746 F.3d at 1092-

1093. The court emphasized that there is clearly a strong public interest “in examining the FBI’s

investigation of, and the DOJ’s decision not to charge, the former House Majority Leader for his

alleged involvement in one of the most significant political corruption scandals in recent

memory.” Id. at 1094. The D.C. Circuit explained specifically the value of the records

responsive to CREW’s FOIA request:

       Disclosure of the FD-302s and investigative materials could shed light on how
       the FBI and the DOJ handle the investigation and prosecution of crimes that
       undermine the very foundation of our government. As the DOJ itself explained,



                                                14
         Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 16 of 18



       the requested records relate to “a wide-ranging public corruption investigation as
       part of (the FBI’s) ongoing efforts to root out systemic corruption within the
       highest levels of government.” Disclosure of the records would likely reveal
       much about the diligence of the FBI’s investigation and the DOJ’s exercise of its
       prosecutorial discretion: whether the government had the evidence but
       nevertheless pulled its punches. Indeed, we have repeatedly recognized a public
       interest in the manner in which the DOJ carries out substantive law enforcement
       policy . . . .

Id. at 1093 (citations omitted).

       DOJ has reiterated, on remand, that “[t]he materials sought [by CREW] include

summaries of witness interviews, FBI 302s, and investigation reports that contain information

about an investigation of Tom DeLay and his connections to other individuals and entities.”

Def. Mem. at 16 (emphasis added). It is thus apparent that the public’s assessment of “how the

FBI and the DOJ handle[d] the investigation” and “DOJ’s exercise of its prosecutorial

discretion” necessarily requires an understanding of those “connections” and relationships.

DOJ’s only argument on this point is the weak assertion, without any elaboration, that “[t]he FBI

determined that revealing this information would not enlighten the public about how FBI

conducts its internal operations and investigations, and therefore that the disclosure of this

information would constitute a clearly unwarranted invasion of these individuals’ personal

privacy.” Id. at 21.11




11
   DOJ also asserts that “unless access to the names and addresses of private individuals
appearing in files . . . is necessary in order to confirm or refute compelling evidence that the
agency is engaged in illegal activity, such information is exempt from disclosure.” Id. (citation
and internal quotation marks omitted). But the D.C. Circuit soundly rejected that assertion,
which the agency raised earlier in this Court and on appeal. The court of appeals clearly held
that although “CREW alleges no impropriety on the part of the FBI or the DOJ[,] it has
nonetheless established a sufficient reason for disclosure independent of any impropriety.” 746
F.3d at 1095 (footnote omitted). “Whether government impropriety might be exposed in the
[investigative] process is beside the point.” Id. (citation omitted).



                                                 15
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 17 of 18



       It is clear that DOJ, on remand, seeks to cling to its earlier, flawed determination that the

public interest would not be served by disclosure of information concerning its investigation of

Mr. DeLay. But the court of appeals has foreclosed reliance upon that position: “We do not

accept the DOJ’s contention that there is no public interest in examining the FBI’s investigation

of, and the DOJ’s decision not to charge, the former House Majority Leader for his alleged

involvement in one of the most significant political corruption scandals in recent memory.” 746

F.3d at 1094 (emphasis in original). The agency has failed to comply with the court of appeals’

directive that, on remand, it “must attempt to make a more particularized showing as to what

documents or portions thereof are exempt” to enable this Court to “weigh what information may

be withheld under Exemption 7(C) and whether any information is reasonably segregable and

may be disclosed.” Id. at 1096.12 Consistent with the D.C. Circuit’s ruling, the Court should

find that the minimal privacy interests of any individual whose association with the Abramoff or

DeLay investigations has already been confirmed do not trump the “weighty public interest in

shining a light on the FBI’s investigation of major political corruption and the DOJ’s ultimate

decision not to prosecute [Mr. DeLay].” 746 F.3d at 1092.

                                            Conclusion

       As set forth above, DOJ has waived its entitlement to rely upon any claims under

Exemption 5 to withhold information responsive to CREW’s request. The agency also has failed

to establish that the privacy interests of individuals already publicly associated with the FBI’s

corruption investigation outweigh the substantial public interest in “shining a light” on the




12
  Among other things, the agency has failed to even attempt to explain why the names of Mr.
DeLay and Mr. Abramoff have not been redacted from the records provided to CREW, while the
names of all other individuals – despite their public association with the investigation – appear to
have been withheld.

                                                 16
        Case 1:11-cv-00592-RJL Document 32 Filed 05/05/15 Page 18 of 18



actions of the Bureau and DOJ. For these reasons, the Court should deny in part DOJ’s motion

for summary judgment and grant CREW’s cross-motion for partial summary judgment.




                                           Respectfully submitted,


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                                             17
